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                    Exhibit F
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FD-302 (Rev. 5-8-10)                                                                                                                                 C..C.l'l'h 'r:i.ul(�!,; ��.,. d>;i til '1 ,��1\:1
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                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       09/01/2021



             On August 3, 2021, SCOTT BECKER, date of birth August 16, 1983, was
       interviewed at the US Attorney's Office for the Southern District of New
       York. BECKER was represented during the interview by his attorneys, Jason
       Brown and Phoebe King. Present (in person or via video-teleconference)
       during the interview from the government were SA Thomas McDonald, SA William
       Bolinder, AUSA Andrew Thomas, AUSA Matthew Podolsky, AUSA Alex Rossmiller,
       Andrew Dean (SEC), Joshua Brodsky (SEC), David Zetlin-Jones (SEC), Brian
       Fitzpatrick (SEC), Osman Nawaz (SEC), Jack Murphy (CFTC), and Alejandra de
       Urioste (CFTC) .




   Investigationon     08/03/2021           at   New York, New York, United States (In Person)
   fik# 318B-NY-3416770                                                                                                      Date drafted    08/05/2021
  by    Thomas w. McDonald, William A. Bolinder
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                          (U) Interview of Scott Becker on
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             In early 2020, ACM had a large short position in TESLA that had not
          performed well, and by February 2020, the firm was down roughly 70% year-to-
          date, largely as a result of the TESLA position. ACM’s gross exposure and
          leverage had grown extremely high because of this poor performance, and
          between February and April 2020, ACM’s prime brokers were calling more
          frequently for updates.

             BECKER asked HALLIGAN what he should tell the banks about ACM’s gross
          exposure. In response, HALLIGAN created a monthly report that calculated
          ACM’s year-to-date average gross exposure, a number that significantly
          understated the firm’s true gross exposure at the time. HALLIGAN told
          BECKER to provide that misleading figure to the banks in response to their
          questions.




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